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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 15-cr-60317-BLOOM

  UNITED STATES OF AMERICA,

            Plaintiff,

  v.

  THOMAS A. GUERRIERO,

        Defendant.
  _____________________________/

                         ORDER ON MOTION FOR REDUCTION IN SENTENCE
                               PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)

            THIS CAUSE is before the Court upon Defendant Thomas A. Guerriero’s (“Defendant”)

  Motion for Reduction in Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A), ECF No. [554] (the

  “Motion”), filed on September 24, 2021. The Government filed its Response, ECF No. [561], to

  which Defendant filed a Reply, ECF No. [562]. The Court has carefully reviewed the Motion, all

  opposing and supporting submissions, any relevant exhibits, the record in this case and the

  applicable law, and is otherwise fully advised. For the reasons discussed below, the Motion is

  denied.

       I.       BACKGROUND

            On December 10, 2015, Defendant was indicted by a grand jury on ten charges, including:

  one count of conspiracy to commit wire and mail fraud, three counts of wire fraud, three counts of

  mail fraud, two counts of tampering with a witness, and one count of obstruction of justice. ECF

  No. [3]. On February 29, 2016, Defendant entered into a guilty plea to one count of conspiracy to

  commit wire and mail fraud, in violation of 18 U.S.C. § 1349. ECF Nos. [151], [154]. On May 13,

  2016, Defendant was sentenced to a term of imprisonment of 151 months, followed by a term of
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  three years of supervised release. ECF Nos. [269], [270], [426]. Defendant is 45 years old and

  currently housed at FCI Coleman Low. Defendant is scheduled to be released from custody on

  September 6, 2025.

         In the Motion, Defendant requests compassionate release, arguing that extraordinary and

  compelling circumstances, including his remarkable rehabilitation and contributions to the Bureau

  of Prisons (“BOP”), and serious medical conditions coupled with the dangers posed by COVID-

  19 warrant such relief. The Government opposes the Motion.

         SARS-CoV-2, the novel coronavirus, and COVID-19, the disease it causes, have spread

  across the world and have impacted every person’s life. The United States is currently reporting

  more confirmed cases of COVID-19 and resulting deaths than any other country, with close to

  46,541,113 confirmed cases and over 753,564 reported deaths as of November 10, 2021.1 The

  COVID-19 pandemic poses a serious danger to society at large and poses a higher risk to

  incarcerated individuals who are unable to practice public health precautions that are otherwise

  available to the general public, such as social distancing practices. In addition, the new and more

  contagious Delta variant of the coronavirus is now the predominant strain of the virus in the United

  States and can cause more severe illness in unvaccinated individuals.2

         As a result of this dynamic, unpredictable, and unprecedented situation, former Attorney

  General William Barr urged the BOP to move vulnerable inmates out of penal institutions and into

  home confinement, where appropriate. See Mem. from Attorney Gen. William Barr for Dir. of

  Bureau of Prisons re: Increasing Use of Home Confinement at Institutions Most Affected by



  1
    COVID Data Tracker, Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-
  tracker/#trends_dailytrendscases (accessed November 10, 2021).
  2
    Delta Variant: What We Know About the Science, Centers for Disease Control and Prevention,
  https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html (last updated August 19, 2021).


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  COVID-19 (Apr. 3, 2020), https://www.justice.gov/file/1266661/download (“Memorandum”).

  The Memorandum identifies several facilities that have been particularly affected and should be

  given priority in the BOP’s consideration of implementing home confinement, including FCI

  Oakdale, FCI Danbury, and FCI Elkton. Id. at 1. The former Attorney General made the express

  finding that extant emergency conditions are materially affecting BOP functioning and has

  directed the BOP to immediately maximize transfers to home confinement for all eligible inmates

  at the specifically named facilities and other similarly situated facilities where COVID-19 is

  materially affecting operations. Id. The Memorandum further directs the BOP to review all inmates

  who have COVID-19 risk factors, as established by the Centers for Disease Control and Prevention

  (“CDC”), to determine their suitability for home confinement, while also emphasizing the

  importance of protecting the public from individuals who may pose a danger to society, and

  recognizing the need to avoid over-burdening law enforcement with “the indiscriminate release of

  thousands of prisoners onto the streets without any verification that those prisoners will follow the

  laws when they are released . . . and that they will not return to their old ways as soon as they walk

  through the prison gates.” Id. at 2-3. Finally, the Memorandum stresses the need for careful and

  individualized determinations regarding the propriety of releasing any given inmate to home

  confinement and discourages indiscriminate releases. Id. at 3.

     II.      LEGAL STANDARD

           “Generally, a court ‘may not modify a term of imprisonment once it has been imposed.’”

  United States v. Pubien, 805 F. App’x 727, 729 (11th Cir. 2020) (quoting 18 U.S.C. § 3582(c)).

           “The authority of a district court to modify an imprisonment sentence is narrowly
           limited by statute.” [United States v. Phillips, 597 F.3d 1190, 1194-95 (11th Cir.
           2010)]. Section 3582(c) of Title 18 provides that the district court may not modify
           a defendant’s imprisonment sentence except: (1) if the Bureau of Prisons files a
           motion and extraordinary or compelling circumstances warrant modification or if
           the defendant is at least 70 years old and has served 30 years in prison; (2) if the



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         modification is expressly permitted by statute or Federal Rule of Criminal
         Procedure 35; or (3) if the defendant’s original sentencing range has subsequently
         been lowered as a result of an amendment to the Guidelines by the Sentencing
         Commission. 18 U.S.C. § 3582(c).

  United States v. Shaw, 711 F. App’x 552, 554-55 (11th Cir. 2017); see also United States v.

  Celedon, 353 F. App’x 278, 280 (11th Cir. 2009); United States v. Diaz-Clark, 292 F.3d 1310,

  1316-18 (11th Cir. 2002). Thus, “[t]he law is clear that the district court has no inherent authority

  to modify a sentence; it may do so only when authorized by a statute or rule.” United States v.

  Rivas, 800 F. App’x 742, 745 (11th Cir. 2020) (quoting United States v. Puentes, 803 F.3d 597,

  605-06 (11th Cir. 2015)); see also United States v. Llewlyn, 879 F.3d 1291, 1296-97 (11th Cir.

  2018) (quoting Dillon v. United States, 560 U.S. 817, 827 (2010)).

         The compassionate release provision, § 3582(c)(1)(A), states:

         (c) Modification of an imposed term of imprisonment.— The court may not modify
         a term of imprisonment once it has been imposed except that—
         (1) in any case—
         (A) the court, upon motion of the Director of the Bureau of Prisons, or upon motion
         of the defendant after the defendant has fully exhausted all administrative rights to
         appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf
         or the lapse of 30 days from the receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier, may reduce the term of imprisonment
         (and may impose a term of probation or supervised release with or without
         conditions that does not exceed the unserved portion of the original term of
         imprisonment), after considering the factors set forth in section 3553(a) [18 U.S.C.
         § 3553(a)] to the extent that they are applicable, if it finds that—
                 (i) extraordinary and compelling reasons warrant such a reduction . . . .
                 ....
         and that such a reduction is consistent with applicable policy statements issued by
         the Sentencing Commission . . . .

  18 U.S.C. § 3582(c)(1)(A)(i).

         The existing policy statement provides that,

         Upon motion of the Director of the Bureau of Prisons under 18 U.S.C.
         § 3582(c)(1)(A), the court may reduce a term of imprisonment (and may impose a
         term of supervised release with or without conditions that does not exceed the
         unserved portion of the original term of imprisonment) if, after considering the



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        factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable, the
        court determines that—

            (1)(A) extraordinary and compelling reasons warrant the reduction; or

               (B) the defendant (i) is at least 70 years old; and (ii) has served at least 30
               years in prison pursuant to a sentence imposed under 18 U.S.C. § 3559(c)
               for the offense or offenses for which the defendant is imprisoned;

            (2) the defendant is not a danger to the safety of any other person or to the
            community, as provided in 18 U.S.C. § 3142(g); and

            (3) the reduction is consistent with this policy statement.

        Commentary

        Application Notes:

        1. Extraordinary and Compelling Reasons.—Provided the defendant meets the
        requirements of subdivision (2), extraordinary and compelling reasons exist under
        any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.—

                   (i) The defendant is suffering from a terminal illness (i.e., a serious and
                   advanced illness with an end of life trajectory). A specific prognosis of
                   life expectancy (i.e., a probability of death within a specific time period)
                   is not required. Examples include metastatic solid-tumor cancer,
                   amyotrophic lateral sclerosis (ALS), end-stage organ disease, and
                   advanced dementia.

                   (ii) The defendant is—

                       (I) suffering from a serious physical or medical condition,

                       (II) suffering from a serious functional or cognitive impairment, or

                       (III) experiencing deteriorating physical or mental health because of
                       the aging process,

                   that substantially diminishes the ability of the defendant to provide self-
                   care within the environment of a correctional facility and from which he
                   or she is not expected to recover.

               (B) Age of the Defendant.—The defendant (i) is at least 65 years old; (ii)
                   is experiencing a serious deterioration in physical or mental health



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                     because of the aging process; and (iii) has served at least 10 years or 75
                     percent of his or her term of imprisonment, whichever is less.

                 (C) Family Circumstances.—

                     (i) The death or incapacitation of the caregiver of the defendant’s minor
                     child or minor children.

                     (ii) The incapacitation of the defendant’s spouse or registered partner
                     when the defendant would be the only available caregiver for the spouse
                     or registered partner.

                 (D) Other Reasons.—As determined by the Director of the Bureau of
                     Prisons, there exists in the defendant’s case an extraordinary and
                     compelling reason other than, or in combination with, the reasons
                     described in subdivisions (A) through (C).

  U.S. Sent’g Guidelines Manual § 1B1.13 (U.S. Sent’g Comm’n 2018).

         Although the existing policy statement still assumes compassionate release “may be

  granted only upon motion by the Director of the Bureau of Prisons,” the Court of Appeals for the

  Eleventh Circuit recently decided that § 1B1.13 is applicable for all § 3582(c)(1)(A) motions, whether

  filed by the BOP or by a defendant directly, and that courts do not have discretion to develop “other

  reasons” to justify a reduction in a defendant’s sentence. See United States v. Bryant, 996 F.3d 1243,

  1248 (11th Cir. 2021). Accordingly, the Court must apply § 1B1.13 to determine whether

  extraordinary and compelling circumstances exist.

         Moreover, § 3582 delineates how this Court should analyze whether a defendant is entitled

  to a sentence modification.

         First, when the defendant brings the motion himself, the Court must ascertain
         whether he “has fully exhausted all administrative rights to appeal a failure of the
         Bureau of Prisons to bring a motion on the defendant’s behalf or [whether there has
         been a] lapse of 30 days from the receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(a). Second, the
         Court should “consider[] the factors set forth in section 3553(a) to the extent that
         they are applicable.” Id. Third, the Court should turn to the “extraordinary and
         compelling reasons” test . . . . And fourth, the Court should determine whether the




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            defendant poses a “danger to the safety of any other person or to the community,
            as provided in 18 U.S.C. § 3142(g).” Id.

  United States v. Stuyvesant, 454 F. Supp. 3d 1236, 1238 (S.D. Fla. 2020).

            Thus, in order to grant Defendant’s request pursuant to § 3582(c)(1)(A), the Court must:

  (1) find that Defendant has exhausted his administrative remedies with the BOP; (2) weigh the

  relevant § 3553(a) factors; (3) conclude that extraordinary and compelling reasons warrant

  compassionate release in this case; and (4) determine that Defendant is not a danger to the

  community. Moreover, Defendant bears the burden of establishing that compassionate release is

  warranted. See United States v. Hamilton, 715 F.3d 328, 337 (11th Cir. 2013) (explaining that “a

  defendant, as the § 3582(c)(2) movant, bears the burden of establishing that” compassionate

  release is warranted, but that, even where a defendant satisfies this burden, “the district court still

  retains discretion to determine whether a sentence reduction is warranted”).

     III.      DISCUSSION

            In his Motion, Defendant argues that compassionate release is warranted because the BOP

  itself has acknowledged his exemplary efforts during his incarceration, and that such efforts

  constitute extraordinary and compelling circumstances. In addition, Defendant argues that he

  suffers from serious medical conditions, that COVID 19 threatens vulnerable people like him, and

  diminishes his ability to provide self-care. The Government opposes Defendant’s request, arguing

  that his “accomplishments, contributions, and rehabilitations” are irrelevant to the Court’s

  determination of whether extraordinary and compelling circumstances exist here, and further, that

  Defendant’s medical issues do not rise to the level of extraordinary and compelling. The Court

  considers each argument in turn.




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          A. Exhaustion of administrative remedies

          As an initial matter, the Court recognizes that Defendant has satisfied the administrative

  exhaustion inquiry of the compassionate release analysis, see ECF No. [554-1], and the

  Government does not dispute that the exhaustion requirement has been satisfied. However, as

  explained below, Defendant fails to demonstrate that extraordinary and compelling circumstances

  exist in this case.

          B. Extraordinary and compelling circumstances

              i. Medical conditions

          Recently updated CDC guidance indicates that the following health conditions can make

  adults of any age more likely to get severely ill due to COVID-19: cancer; chronic kidney disease;

  chronic lung diseases, including asthma (moderate to severe) and pulmonary embolism; dementia

  or other neurological conditions; diabetes (type 1 or type 2); Down syndrome; heart conditions,

  such as heart failure, coronary artery disease, cardiomyopathies, or hypertension; HIV infection,

  immunocompromised state (weakened immune system); mental health conditions; overweight and

  obesity; pregnancy; sickle cell disease or thalassemia; current or former smoking; solid organ or

  blood stem cell transplant; stroke or cerebrovascular disease; substance use disorders; and

  tuberculosis.3

          However, in keeping with § 1B1.13,4 in order for Defendant’s medical conditions to

  provide justification for compassionate release, the Court must find that Defendant is either



  3
      People with Certain Medical Conditions, Centers for Disease Control and Prevention,
  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html
  (last updated October 14, 2021).
  4
    Recent Eleventh Circuit precedent in Bryant makes clear that this Court is strictly confined to
  consideration of only the circumstances described in the Sentencing Guidelines in determining whether
  extraordinary and compelling circumstances exist. 996 F.3d at 1248.


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  suffering from a terminal illness, or that his serious physical or medical conditions, or serious

  functional or cognitive impairments, substantially diminish his ability to provide self-care and

  from which he is not expected to recover. See U.S. Sent’g Guidelines Manual § 1B1.13, cmt. 1(A).

  Upon review of Defendant’s Motion and his medical records, the Court concludes that the record

  in this case does not support either finding under the Sentencing Guidelines.

         In the Motion, Defendant contends that he has an extensive history of medical conditions,

  and that he is immunocompromised due to his history of cancer, pulmonary embolisms, deep vein

  thrombosis (“DVT”), blood clots in his lungs, chest, pelvis, and legs, and repeated bouts of

  diverticulitis, which have required hospitalizations, multiple surgeries, and resection of his colon.

  ECF No. [554] at 4-5. He also suffers from asthma and obesity. Id. at 5. However, his medical

  records do not support Defendant’s contention that his medical conditions rise to the level of

  extraordinary and compelling circumstances justifying compassionate release.

         First, while the Court acknowledges that the records Defendants has provided document

  the history of his listed medical conditions, some of which are designated by the CDC as increasing

  the possibility of severe illness from COVID-19, the records date from more than five years ago,

  and therefore do not shed light on his current condition. See ECF No. [554-3] (records dating from

  2015, prior to incarceration); ECF No. [554-4] (records dating back to 2013). Defendant has

  provided no recent medical records since his incarceration which would explain his current

  medical conditions or the care he has received while incarcerated. Second, while he contends that

  he requires a low bunk due to his history of DVTs and pulmonary embolisms, the documents he

  has provided do not reflect those reasons. See ECF No. [554-5] at 7, 9 (designating “lower bunk,”

  but not providing a reason for the designation). In addition, the designation forms show that he is

  cleared for work subject to no restrictions. See id. Similarly, though he contends that he is not




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   receiving adequate care in custody, the two documents he purports to show that necessary medical

   procedures have been canceled, reflect only that he was scheduled for an in-house medical

   procedure on September 28, 2017. ECF No. [554-5] at 2-5. Other than that, Defendant has provided

   no other documentation from his time in custody to substantiate his medical conditions.

          Nevertheless, Defendant argues that COVID-19 threatens vulnerable individuals like him

   and diminishes his ability to provide self-care. While the Court is certainly sympathetic to

   Defendant’s health conditions and his concerns regarding COVID-19 outbreaks in prison facilities,

   Defendant’s medical records otherwise do not support the conclusion that he is unable to perform

   activities of daily living or provide self-care.5 “[T]he BOP Director has not found COVID-19 alone

   to be a basis for compassionate release.” United States v. Harris, No. 2:12-cr-140-FtM-29DNF,

   2020 WL 1969951, at *2 (M.D. Fla. Apr. 24, 2020) (citing United States v. Eberhart, No. 13-cr-

   313-PJH-1, 2020 WL 1450745, at *2 (N.D. Cal. Mar. 25, 2020) (“General concerns about possible

   exposure to COVID-19 do not meet the criteria for extraordinary and compelling reasons for a

   reduction in sentence . . . .”)). In sum, Defendant has provided no basis for the Court to conclude

   that his ability to provide self-care in the prison setting is significantly diminished as a result of

   his medical conditions.

              ii. Other reasons

          Defendant’s main argument for compassionate release is that he has engaged in extensive

   rehabilitation efforts, which have been recognized and acknowledged by the BOP. He urges the

   Court to consider his efforts to be sufficiently extraordinary and compelling to warrant

   compassionate release.



   5
    The Court notes that FCI Coleman Low, where Defendant is housed, is currently reporting 0 COVID cases
   among staff and inmates. See COVID -19 Coronavirus, Federal Bureau of Prisons,
   https://www.bop.gov/coronavirus/ (last accessed November 11, 2021).


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             However, the Court may not. The Eleventh Circuit has made it clear that, in determining

   the existence of extraordinary and compelling circumstances, the Court is confined to

   consideration of the circumstances described in the applicable Sentencing Guidelines Policy

   Statement, and that courts do not have discretion to develop “other reasons” to justify a reduction in a

   defendant’s sentence. Bryant, 996 F.3d 1243 at 1248. Although Defendant argues that the application

   of Bryant results in an unlawful sub-delegation of authority to the BOP, the Court is not free to disregard

   or re-evaluate binding authority from the Eleventh Circuit. Unless and until a subsequent decision

   invalidates Bryant, this Court is required to apply it, and is not free to determine other reasons

   constituting extraordinary and compelling circumstances.

             Defendant has therefore failed to establish that extraordinary and compelling

   circumstances exist for either medical or other reasons, such that compassionate release would be

   warranted in his case.6

       IV.      CONCLUSION

             Accordingly, Defendant’s Motion, ECF No. [554], is DENIED.

             DONE AND ORDERED in Chambers at Miami, Florida, on November 11, 2021.




                                                            _________________________________
                                                            BETH BLOOM
                                                            UNITED STATES DISTRICT JUDGE
   Copies to:

   Counsel of Record




   6
    Because Defendant’s Motion fails to establish any extraordinary and compelling circumstances, the Court
   need not address the remaining considerations under § 3553(a) or § 3142(g).


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